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                     EXHIBIT 4
                     Case 6:20-cv-01083-ADA Document 34-7 Filed 08/16/21 Page 2 of 9
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       13/010,382               01/20/2011              Kevin J. Humphries        AL808077                            2586

       75930            7590             10/23/2012
                                                                                                  EXAMINER
       GARLICK & MARKISON (ALU)
       P.O. BOX 1 60727                                                                         PARK, TIJNG H
       AUSTIN, TX 787 16-0727
                                                                                  ART UNIT                       PAPER NUMBER

                                                                                     2411



                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                  10/23/2012                      ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es) :
MMurdock@ texaspatents.com
ghmptocor@texaspatents.com
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                                                                                       WSOU-ARISTA0000036
PTOL-90A (Rev. 04/07)
                            Case 6:20-cv-01083-ADA Document 34-7 Filed 08/16/21 Page 3 of 9
                                                                                     Application No.                               Applicant(s)

                                                                                      1 3/01 0,382                                 H U M P H R I ES, KEVIN J.
                      Office Action Summary                                          Examiner                                      Art Unit
                                                         JUNG PARK                         241 1
           -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address -­
  Period for Reply
         A SHORTENED STATUTORY PER IOD FOR REPLY IS SET TO EXP I R E ;J. MONTH (S) OR TH I RTY (30) DAYS,
         WH I C H EVER IS LONG ER, FROM T H E MAILING DATE OF TH IS COM M U N ICATION.
           Extensions o f time may b e available under the provisions o f 3 7 C F R 1 . 1 36(a). I n no event, however, may a reply b e timely filed
           after SIX (6) MONTHS from the mailing d ate of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply wi l l , by statute, cause the appl ication to become ABANDONED (35 U.S.C. § 1 33).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1 .704(b).

  Status
        1 )IZI Responsive to communication(s) filed on 20 January 20 1 1 .
       2a)0 This action is FINAL.                  2b)[8J This action is non-final.
        3)0 An election was made by the applicant in response to a restriction requ i rement set forth during the interview on
               __ ; the restriction requirement and election have been incorporated into this action.
        4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
               closed i n accordance with the practice under Ex parte Quayle, 1 935 C . D . 1 1 , 453 O.G. 21 3.
  Disposition of Claims
         5)1Zl Claim(s) 1 -2 1 is/are pending in the application.
               5a) Of the above clai m(s) __ is/are withdrawn from consideration.
         6)0 Claim(s) __ is/are allowed .
         7)[8J Claim(s) 1 -5. 12. 1 7. 18 and 2 1 is/are rejected .
         S)IZI Claim(s) 6- 1 1. 13- 1 6. 19 and 20 is/are objected to.
         9)0 Claim(s) __ are subject to restriction and/or election requ i rement.

  Application Papers
       1 0)0 The specification is objected to by the Examiner.
       1 1 ) IZI The drawing(s) filed on 20 January 20 1 1 is/are : a)IZ! accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1 .85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1 . 1 21 (d).
       1 2)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-1 52.
  Priority under 35 U.S.C. § 1 1 9
       1 3)0 Acknowledgment is made of a claim for foreign priority under 35 U .S.C. § 1 1 9(a)-(d) o r (f) .
           a)O Al l b)O Some * c)O None of:
              1 .0 Certified copies of the priority documents have been received .
              2.0 Certified copies of the priority documents have been received i n Application No. __.
              3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                    application from the International Bureau (PCT Rule 1 7.2(a) ) .
           * See the attached detai led Office action for a list o f the certified copies not received .


  Attachment{s)
  1)   [8J Notice of References Cited (PT0-892)                                                    4) 0 Interview Summary ( PT0-41 3)
  2)   0 Notice of Draftsperson's Patent Drawing Review (PT0-948)                                       Paper No(s)/Mail Date. __ .
  3)   [8J Information Disclosure Statement(s) (PTO/SB/08)                                         5) 0 Notice of Informal Patent Application
          Paper No(s)/Mail Date 0 1/20/1 1. 05/23/12.                                              6) 0 Other: __.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 03-1 1 )                                                 Office Action Summary                                 Part of Paper No./Mail Date 201 21 01 6
                                                                                                                                   WSOU-ARISTA0000037
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                                                DETAILED ACTION


                                       Claim Rejections - 35 USC § 103

1.       The following is a quotation of 35 U .S.C. 1 03(a) which forms the basis for all

         obviousness rejections set forth in th is Office action:

         (a) A patent may not be obtained though the i nvention is not identically disclosed or described as set forth in
         section 1 02 of this title, if the differences between the subject matter sought to be patented and the prior art
         are such that the subject matter as a whole would have been obvious at the time the invention was made to
         a person having ordi nary ski ll in the art to which said subject matter pertai ns. Patentability shall not be
         negatived by the manner in which the i nvention was made.

2.       Claims 1 -5, 1 2 , 1 7, 1 8 , and 2 1 are rejected under 35 U .S.C. 1 03(a) as being

         u npatentable over Salam et al. (US 20 1 0/0020680, "Salam") in view of Weyman et al .

         (US 2005/004 1 665, "Weyman") .

                    Regarding claim 1 , Salam discloses an aggregation switch in a multi-chassis

         system for performing Internet Protocol ( I P) multicast snooping , comprising :

                    - a plurality of virtual fabric link (VFL) ports coupled to a VFL ( D H Ds are

         connected to the same P E device via ports, see fig . 1 , ,r.2-3, and ,r. 1 8), wherein the VFL

         is con nected to a remote aggregation switch, wherein the remote aggregation switch is

         active and in a separate physical chassis (PE 1 and PE2 nodes are referred to as

         agg regation switches, see 1 20 fig . 1 and ,r.22 ; active agg regation switch , see ,r. 1 5) ;

                    - a plurality of external ports coupled to at least one edge node (ports connected

         to DSLAM as an edge node , see ,r.2) and at least one network node (a customer

         connected CE device , see ,r.2).

                    Salam does not explicitly disclose what Weyman discloses,

                    - a database maintain ing I P multicast snooping information (IGMP snooping

         functionality that controls the bridge's forwarding of IP mu lticast address traffic, see




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         ,r . 1 04 ; forwarding database al lowing learn ing opportun ity presented by the additional

         synchron ization , i.e. snoopi ng, see ,r.47 and ,r.6) ; and

                    - a chassis management module (a snooper module, not shown , see ,r. 1 04) for

         receiving the snooping information via at least the external ports (receiving snooping

         information to determine which user ports connect to a client of a particular multicast

         stream , see ,r . 1 04), storing the snooping information within the database (forwarding

         database allowing learning opportun ity presented by the additional synch ron ization by

         snooping action, see ,r.47 and ,r.6) and sharing the snooping i nformation substantially in

         real-time with the remote aggregation switch via the VFL (a master unit in the fabric to

         ru n routing protocols and for the other un its to synchronize their operation by the action

         of 'snooping', see ,r.6).

                    Therefore , it would have been obvious to one of ordinary skill in the art at the

         time of applicant's invention to apply the database maintain ing IP m ulticast snooping

         information and a snooper module as a chassis management module as taught by

         Weyman i nto the system of Salam , so that it provides a way of determin ing which user

         ports connect to a client of a particular multicast stream (Weyman , see ,r. 1 04) .



                    Regarding claim 2, Salam discloses "the chassis management module shares

         information with an additional chassis management module on the remote aggregation

         switch via a log ical i nter-process commun ication ( I PC) channel over the VFL ( ICC, see

         fig . 1 )", but does not d isclose what Weyman d iscloses "snoopi ng i nformation (snooping,

         see ,T.47)." Therefore, this claim is rejected with the similar reasons and motivation set

         forth in the rejection of claim 1 .




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                    Regarding claim 3, Salam does not expl icitly disclose what Weyman discloses

         "the snooping information i ncludes at least one of group membership information

         identifying groups for receiving multicast traffic flows, queries for multicast traffic flows,

         identifiers of multicast traffic flows and identifiers of neighboring multicast routers (flow of

         mu lticast traffic, see ,T.97)." Therefore, th is claim is rejected with the similar reasons and

         motivation set forth in the rejection of claim 1 .



                    Regarding claim 4, Salam d iscloses "one or more of the external ports are

         member ports of a multi-chassis link agg regation g roup (MC-LAG) con nected to an edge

         node; and the remote agg regation switch includes one or more of the member ports of

         the MC-LAG (multi-chassis LAG , see 1 20 fig . 1 ) . "



                    Regarding claim 5, Salam d iscloses "the chassis management module further

         receives a portion of the i nformation from the remote aggregation switch via the VFL, the

         portion of the information having remote hardware device information associated

         therewith , the remote hardware device information including a remote external port

         identifier of a remote external port that received the information on the remote

         agg regation switch (determining switch egress ports and queuing th e packet for

         transmission, see ,T.7; d etermining the port as P 1 5/2, see ,T.74)", but does not explicitly

         d isclose what Weyman d iscloses "snoopi ng i nformation (snooping, see ,T.47)."

         Therefore , this claim is rejected with the similar reasons and motivation set forth i n the

         rejection of clai m 1 .




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                    Regarding claim 1 2 , Salam does not explicitly disclose what Weyman discloses

         "the chassis management module further builds respective forwarding vectors for

         mu lticast traffic flows received from the network nodes via the external ports or the VLF

         ports based on the snooping information (forwarding vector in routing protocol , see

         ,T.8 1 )." Therefore, this claim is rejected with the similar reasons and motivation set forth

         in the rejection of claim 1



                    Regarding claim 1 7, it is a claim corresponding to claim 1 and is therefore

         rejected for the similar reasons set forth in the rejection of the claim .



                    Regarding claim 1 8 , i t is a claim corresponding t o claim 5 and is therefore

         rejected for the similar reasons set forth in the rejection of the claim .



                    Regarding claim 2 1 , Salam discloses "the agg regation switch is a secondary

         switch and the remote aggregation switch is a primary switch , and fu rther comprising :

         configu ring a virtual I P interface associated with a virtual I P virtual local area network

         (V I P VLAN) coupling the primary switch and the secondary switch to a MC-LAG as a

         stub network to prevent the virtual I P interface from sending and processing received

         Layer 3 routi ng control packets on the external ports (virtual private LAN , see ,r.4 1 ; layer

         3 I P routing, see ,T.21 )."




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                                        Allowable Subject Matter

3.       Claims 6- 1 1 and 1 3- 1 6 , 1 9 , and 20 are objected to as being dependent upon a rejected

         base claim , but would be al lowable if rewritten in independent form including all of the

         limitations of the base clai m and any intervening claims.



                                          Conclusion

4.       Examiner's Note: Examiner has cited particular columns and line nu mbers, or

         paragraphs in the references applied to the claims above for the convenience of the

         applicant. Although the specified citations are representative of the teachings of the art

         and are applied to specific limitations with in the individual claim , other passages and

         fig ures may apply as well . It is respectfully requested from the applicant in preparing

         responses, to fu lly consider the references in entirety as potentially teaching al l or part of

         the claimed invention, as wel l as the context of the passage as taught by the prior art or

         disclosed by the Examiner.



                                          Contact Information

5.       Any inquiry concerni ng this commun ication or earlier commun ications from the exam iner

         should be directed to Jung Park whose telephone n umber is 571 -272-8565. The

         examiner can normally be reached on Mon-Fri duri ng 8 :00-4:30.

                    If attempts to reach the examiner by telephone are unsuccessful , the exami ner's

         supervisor, Andrew Lai can be reached on 571 -272-974 1 . The fax phone number for the

         organization where th is application or proceeding is assigned is 571 -273-8300.

                    I nformation regarding the status of an application may be obtained from the

         Patent Application I nformation Retrieval (PAIR) system . Status i nformation for published




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         applications may be obtained from either Private PAI R or Public PAI R . Status

         information for unpublished applications is available th rough Private PAI R only. For

         more information about the PAI R system , see http://pai r-direct.uspto .gov. Should you

         have questions on access to the Private PAI R system , contact the Electronic Business

         Center (E BC) at 866-2 1 7-9 1 97 (tol l-free).



         /J ung Park/

         Primary Exam iner, Art Unit 24 1 1




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